Defendant was charged with the crime of assault with a deadly weapon. He was convicted of assault and sentenced to pay a fine of $125. The appeal is from the judgment. The evidence has not been brought up and only the judgment-roll is available to ascertain whether any error was committed. [1] The record has been examined, and outside of a clerical mistake in the information, nothing of an irregular nature has been discovered. Said mistake consists of the omission of the defendant's name in one portion of said information, but it is manifest that no prejudice resulted therefrom. Indeed, appellant has not argued the case in this court either orally or by brief, and *Page 71 
this failure may be deemed an admission that no cause exists for a reversal.
The judgment is affirmed.
Prewett, P. J., pro tem., and Hart, J., concurred.